Case 3:21-cv-01403-G-BH CRIGINA Filed pouer Page 10f16 PagelD 34

vs.

GARLAND CADILLAC,

CLERK US BISFRICT- Coy our

NORT HregN BIST. OF |
IN THE UNITED STATES DISTRICT COURT ILE®
FOR THE NORTHERN DISTRICT OF TEXAS 767) JUL | 4M 6:
DALLAS DIVISION 297
DEPUTY CLERK tb

)
Plaintiff, )
) No. 3:21-CV-1403-G-BH
)
)
)

Defendant. Referred to U.S. Magistrate Judge

ANSWERS TO MAGISTRATE JUDGE’S QUESTIONNAIRE

QUESTION 1: Are you suing for employment discrimination? A _YES NO

If you answered yes,

a.

DORA M. TIPPING,
b
c
d

Did you previously file a charge of discrimination with the Equal Employment
Opportunity Commission (EEOC) or the equivalent state agency?

x YES NO

With which agency did you file a charge of discrimination? BRE Dallas Droit offre
Fico
rad 2
> 4420

What was the date that you filed a charge of discrimination? stot 202 |
You must attach a copy of the first charge of discrimination that you filed.

Did the agency issue a final decision concerning your charge of discrimination?

 

the eee ested tre Fle. YES No NAW
What is the date that you received the final decision? 6347-2021
Did the agency make a finding of discrimination? _ —=——-YES NO NIA

The «E00 didast proc Ceegk Avrfeer with 45 inn

You must attach a true and correct copy of the EEOC tefkeythe including the
summary of the charge and summary of the investigation, to your answer to this
question,
 

Qushoasel3:2@cv-01403-G-BH Document 9 Filed 07/01/21 Page2of16 PagelD 35
=

 

 

 

 

 

 

EEOC Form § (11/409)
CHARGE OF DISCRIMINATION Charge Presented To: Agency(ies) Charge No(s):
This form is affected by the Privacy Act of 1974. See enclosed Privacy Act C] FEPA
Statement and other information before completing this form.
[x] EEoc 450-2021-02765
Texas Workforce Commission Civil Rights Division and EEOC
State or local | Agency, if any ~
—— = a ao : = = SS

Name (indicate Mr, Ms., Mrs. ) Home Phone (incl. Area Code) Date of Birth

Ms. Dora Tipping | (469) 810-7868

 

Street Address City, State and ZIP Code

735 Primrose Lane, Rockwall, TX 75032

 

Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee, or State or Local Government Agency That | Believe
Discriminated Against Me or Others. (/f more than two, list under PARTICULARS below.)

 

Name No. Employees, Members Phone No. (include Area Code)

GARLAND CADILLAC 16 - 100 (972) 840-4100

 

 

 

Street Address City, State and ZIP Code

11675 Lyndon B. Johnson Freeway, Garland, TX 75041

 

Name No. Employees, Members Phone No. (include Area Code)

 

 

 

 

Street Address City, State and ZIP Code

 

DISCRIMINATION BASED ON (Check appropriate box(es).) DATE(S) DISCRIMINATION TOOK PLACE
Earliest Latest

[| RACE [| COLOR [| SEX [] RELIGION [x] NATIONAL ORIGIN 01-01-2020 05-05-2020

RETALIATION ["] AGE [J DISABILITY [J GENETIC INFORMATION
OTHER (Specify) [J CONTINUING ACTION

 

 

THE PARTICULARS ARE (if additional paper is needed, attach extra sheet(s)):
PERSONAL HARM:
A. On or about January 2020, | was not paid my commission.
B. On or about May 1, 2020, I was written up.
C. On or about May 5, 2020, I was terminated by Department Manager Jasmine Alexander.

RESPONDENT'S REASON FOR ADVERSE ACTION:

A. I was told | was late three to five minutes.

B. | was told that | was terminated because | did not bring in two people per day to purchase a car.
C. | was told by Manager Jeff Rosser, "I! will pay you whatever commission | want, you can take it or
leave it." My commission was given to my non-Hispanic co-workers.

 

 

| want this charge filed with both the EEOC and the State or local Agency, if any. | NOTARY — When necessary for State and Local Agency Requirements
will advise the agencies if | change my address or phone number and | will
cooperate fully with them in the processing of my charge in accordance with their

 

procedures. | swear or affirm that | have read the above charge and that it is true to
| declare under penalty of perjury that the above is true and correct. the best of my knowledge, information and belief.
SIGNATURE OF COMPLAINANT

SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
03: of aoa) Gamsrys supecmeo a

Charging Ppt\piondture

 

 

 

 

 
Case 3:21-cv-01403-G-BH Document9 Filed 07/01/21 Page3o0f16 PagelD 36

 

EEOC Form 5 (11/08)
CHARGE OF DISCRIMINATION Charge Presented To: Agency(ies) Charge No(s):
This form is affected by the Privacy Act of 1974. See enclosed Privacy Act FEPA
Statement and other information before completing this form.
i EEOC 450-2021-02765

 

 

State or local Agency, if any

 

 

DISCRIMINATION STATEMENT:

| believe | was discriminated against because of my National Origin (Hispanic), in violation of Title Vil

of the Civil Rights Act of 1964, as amended.

|
|
Texas Workforce Commission Civil Rights Division and EEOC

 

 

 

| want this charge filed with both the EEOC and the State or local Agency, if any. |
will advise the agencies if | change my address or phone number and I will
cooperate fully with them In the processing of my charge in accordance with their
procedures.

NOTARY — When necessary for State and Local Agency Requirements

 

 

 

| declare under penalty of perjury that the above is true and correct.

03-08 8 doa GQ 37

Charging Party situ

 

| swear or affirm that | have read the above charge and that It is true to
the best of my knowledge, information and belief.
SIGNATURE OF COMPLAINANT

SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
(month, day, year)

 

 

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Case 3:21-cv-01403-G-BH Document9 Filed 07/01/21 Page4of16 PagelD 37

CP Enclosure with EEOC Form 5 (11/09)

PRIVACY ACT STATEMENT: Under the Privacy Act of 1974, Pub. Law 93-579, authority to request
personal! data and its uses are:

1. FORM NUMBERITITLE/DATE. EEOC Form 5, Charge of Discrimination (11/09).
2. AUTHORITY. 42 U.S.C. 2000e-5(b), 29 U.S.C. 211, 29 U.S.C. 626, 42 U.S.C. 12117, 42 U.S.C. 2000ff-6.

3. PRINCIPAL PURPOSES. The purposes of a charge, taken on this form or otherwise reduced to
writing (whether later recorded on this form or not) are, as applicable under the EEOC anti-
discrimination statutes (EEOC statutes), to preserve private suit rights under the EEOC statutes,
to invoke the EEOC's jurisdiction and, where dual-filing or referral arrangements exist, to begin
state or local proceedings.

4. ROuTINE Uses. This form is used to provide facts that may establish the existence of matters
covered by the EEOC statutes (and as applicable, other federal, state or local laws). Information
given will be used by staff to guide its mediation and investigation efforts and, as applicable, to
determine, conciliate and litigate claims of unlawful discrimination. This form may be presented to
or disclosed to other federal, state or local agencies as appropriate or necessary in carrying out
EEOC's functions. A copy of this charge will ordinarily be sent to the respondent organization
against which the charge is made.

5. WHETHER DISCLOSURE IS MANDATORY; EFFECT OF NOT GIVING INFORMATION. Charges must be
reduced to writing and should identify the charging and responding parties and the actions or
policies complained of. Without a written charge, EEOC will ordinarily not act on the complaint.
Charges under Title Vil, the ADA or GINA must be sworn to or affirmed (either by using this form
or by presenting a notarized statement or unsworn declaration under penalty of perjury); charges
under the ADEA should ordinarily be signed. Charges may be clarified or amplified later by
amendment. It is not mandatory that this form be used to make a charge.

NOTICE OF RIGHT TO REQUEST SUBSTANTIAL WEIGHT REVIEW |

Charges filed at a state or local Fair Employment Practices Agency (FEPA) that dual-files charges

with EEOC will ordinarily be handled first by the FEPA. Some charges filed at EEOC may also be

first handled by a FEPA under worksharing agreements. You will be told which agency will handle
your charge. When the FEPA is the first to handle the charge, it will notify you of its final
resolution of the matter. Then, if you wish EEOC to give Substantial Weight Review to the FEPA's
final findings, you must ask us in writing to do so within 15 days of your receipt of its findings.

Otherwise, we will ordinarily adopt the FEPA's finding and close our file on the charge.

NOTICE OF NON-RETALIATION REQUIREMENTS

Please notify EEOC or the state or local agency where you filed your charge if retaliation is
taken against you or others who oppose discrimination or cooperate in any investigation or
lawsuit concerning this charge. Under Section 704(a) of Title VII, Section 4(d) of the ADEA,
Section 503(a) of the ADA and Section 207(f) of GINA, it is unlawful for an employer to
discriminate against present or former employees or job applicants, for an employment agency to
discriminate against anyone, or for a union to discriminate against its members or membership
applicants, because they have opposed any practice made unlawful by the statutes, or because
they have made a charge, testified, assisted, or participated in any manner in an investigation,
proceeding, or hearing under the laws. The Equal Pay Act has similar provisions and Section
503(b) of the ADA prohibits coercion, intimidation, threats or interference with anyone for
exercising or enjoying, or aiding or encouraging others in their exercise or enjoyment of, rights
under the Act.

- @y
Case 3:2T-cv-01403-G-BH Document9 Filed 07/01/21 Page5of16 PagelD 38

EEOC Form 161 (11/2020) U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

 

DISMISSAL AND NOTICE OF RIGHTS

 

To: Dora Tipping From: Dallas District Office
735 Primrose Lane 207 S. Houston St.
Rockwall, TX 75032 3rd Floor

Dallas, TX 75202

 

[] On behaif of person(s) aggrieved whose identity is
CONFIDENTIAL (29 CFR §1601.7(a))
EEOC Charge No. EEOC Representative Telephone No.

Juan F. Munoz,
450-2021-02765 Intake Supervisor (972) 918-3607

 

THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.

Your allegations did not involve a disability as defined by the Americans With Disabilities Act.
The Respondent employs less than the required number of employees or is not otherwise covered by the statutes.
Your charge was not timely filed with EEOC; in other words, you waited too long after the date(s) of the alleged

discrimination to file your charge

The EEOC issues the following determination: The EEOC will not proceed further with its investigation, and makes no
determination about whether further investigation would establish violations of the statute. This does .not mean the claims
have no merit. This determination does not certify that the respondent is in compliance with the statutes. The EEOC
makes no finding as to the merits of any other issues that might be construed as having been raised by this charge.

The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.

HO BOUOUUU

Other (briefly state)

- NOTICE OF SUIT RIGHTS -

(See the additional information attached to this form.)

Title Vil, the Americans with Disabilities Act, the Genetic Information Nondiscrimination Act, or the Age

Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you.

You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be
lost. (The time limit for filing suit based on a claim under state law may be different.)

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the
alleged EPA underpayment. This means that backpay due for any violations that occurred more than; 2 years (3 years)
before you file suit may not be collectible.

On behalf of the

for Clove.

Enclosures(s) £ Belinda F. McCallistef
District Director

   

03/12/2021
(Date Issued)

ce. Jeff Rosser

General Manager

GARLAND CADILLAC

11675 Lyndon B Johnson Freeway
Garland, TX 75041
 

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Enclosure with EEOC
Form 161 (11/2020)

INFORMATION RELATED TO FILING SUIT
UNDER THE LAWS ENFORCED BY THE EEOC

(This information relates to filing suit in Federal or State court under Federal law.
If you also plan to sue claiming violations of State law, please be aware that time limits and other
provisions of State law may be shorter or more limited than those described below.)

Title VI of the Civil Rights Act, the Americans with Disabilities Act (ADA),
the Genetic information Nondiscrimination Act (GINA), or the Age
Discrimination in Employment Act (ADEA):

PRIVATE SUIT RIGHTS

in order to pursue this matter further, you must file a lawsuit against the respondent(s) named in the charge within
90 days of the date you receive this Notice. Therefore, you should keep a record of this date. Once this 90-
day period is over, your right to sue based on the charge referred to in this Notice will be lost. If you intend to
consult an attorney, you should do so promptly. Give your attorney a copy of this Notice, and its envelope or
record of receipt, and tell him or her the date you received it. Furthermore, in order to avoid any question that you
did not act in a timely manner, it is prudent that your suit be filed within 90 days of the date this Notice was
issued to you (as indicated where the Notice is signed) or the date of the postmark or record of receipt, if later.

Your lawsuit may be filed in U.S. District Court or a State court of competent jurisdiction. (Usually, the appropriate
State court is the general civil trial court.) Whether you file in Federal or State court is a matter for you to decide
after talking to your attorney. Filing this Notice is not enough. You must file a “complaint” that contains a short
statement of the facts of your case which shows that you are entitled to relief. Your suit may include any matter
alleged in the charge or, to the extent permitted by court decisions, matters like or related to the matters alleged in
the charge. Generally, suits are brought in the State where the alleged unlawful practice occurred, but in some
cases can be brought where relevant employment records are kept, where the employment would have been, or
where the respondent has its main office. If you have simple questions, you usually can get answers from the
office of the clerk of the court where you are bringing suit, but do not expect that office to write your complaint or
make legal strategy decisions for you.

PRIVATE Sult RIGHTS -- Equal Pay Act (EPA):

EPA suits must be filed in court within 2 years (3 years for willful violations) of the alleged EPA underpayment: back
pay due for violations that occurred more than 2 years (3 years) before you file suit may not be collectible. For
example, if you were underpaid under the EPA for work performed from 7/1/08 to 12/1/08, you should file suit
before 7/1/10 — not 12/1/10 -- in order to recover unpaid wages due for July 2008. This time limit for filing an EPA
suit is separate from the 90-day filing period under Title Vil, the ADA, GINA or the ADEA referred to above.
Therefore, if you also plan to sue under Title VII, the ADA, GINA or the ADEA, in addition to suing on the EPA
claim, suit must be filed within 90 days of this Notice and within the 2- or 3-year EPA back pay recovery period.

ATTORNEY REPRESENTATION -- Title VII, the ADA or GINA:

if you cannot afford or have been unable to obtain a lawyer to represent you, the U.S. District Court having jurisdiction
in your case may, in limited circumstances, assist you in obtaining a lawyer. Requests for such assistance must be
made to the U.S. District Court in the form and manner it requires (you should be prepared to explain in detail your
efforts to retain an attorney). Requests should be made well before the end of the 90-day period mentioned above,
because such requests do not relieve you of the requirement to bring suit within 90 days.

ATTORNEY REFERRAL AND EEOC ASSISTANCE -- Alli Statutes:

You may contact the EEOC representative shown on your Notice if you need help in finding a lawyer or if you have any
questions about your legal rights, including advice on which U.S. District Court can hear your case. If you need to
inspect or obtain a copy of information in EEOC's file on the charge, please request it promptly in writing and provide
your charge number (as shown on your Notice). While EEOC destroys charge files after a certain time, all charge files
are kept for at least 6 months after our last action on the case. Therefore, if you file suit and want to review the charge
file, please make your review request within 6 months of this Notice. (Before filing suit, any request should be
made within the next 90 days.)

IF YOU FILE SUIT, PLEASE SEND A COPY OF YOUR COURT COMPLAINT TO THIS OFFICE.
Enclobur@ GA EEGeL-CV-01403-G-BH Document9 Filed 07/01/21 Page 7of1i6 PagelD 40

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IF YOU FILE SUIT, PLEASE SEND A COPY OF YOUR COURT COMPLAINT TO THIS OFFICE.
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QUESTION 2: Provide the following information for your employer:

g. The identity and position of the allegedly discriminating official, and

a. An address where it may be served with process.”
b. The particular department or division in which you are/were employed,
c. The particular department or division in which the alleged discrimination occurred,
d. Your position in that department or division,
e. The dates of your employment in that department or division,
f. The identity and position of your supervisor in that department or division,
|
|

h. Whether you reported the alleged discrimination to your supervisor: or Human
Resources department. If you reported the discrimination, specify the date (month,
day, and year) that you reported it, and the identity of the person to whom you
reported it.

ANSWER: nder B. Jorn Freewoy Gaddnd TH AS+|

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? If a defendant cannot be timely served with process due to a lack of a valid address or improper identification, your |
claims against that defendant may be dismissed without prejudice under Fed. R. Civ. P. 4(m). “Without prejudice”
means that the dismissal will not prevent the plaintiff from filing a new action against the defendant on the:same factual
allegations.
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Case 3:21-cv-01403-G-BH Document9 Filed 07/01/21 Page9of16 PagelD 42

QUESTION 3: Which protected characteristic(s) (such as race, color, religion, sex, national origin,
age or disability) are you claiming was/were the reason for the alleged employment discrimination?

 

For each alleged protected characteristic, provide the following information:

a. Whether the protected characteristics was alleged in your initial charge of
discrimination,
b. If the characteristic was not alleged in your charge,

(1) why it was not alleged in your charge of discrimination, and

(2) howit is related to the characteristics that were alleged in your charge of
discrimination.

ANSWER:

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Case 3:21-cv-01403-G-BH Document9 Filed 07/01/21 Page10o0f16 PagelD 43

QUESTION 4: Describe each adverse employment action taken against you that supports your
claim of employment discrimination. For each alleged adverse employment action, provide the
following information:

a. The date (month, day, and year) that the action took place,

b. The identity of the person(s) who took the action,

c. The protected characteristic(s) (such as race, color, religion, sex, national origin, age
or disability) that you are claiming was the reason for that particular adverse
employment action,

d. A description of how you were treated less favorably than other similarly situated
employees who were not in your protected group(s),

e. The identity of the alleged other similarly situated employees who were not in your
protected group(s), and

f. An explanation of why you believe that the adverse employment action was taken
because of your protected characteristic(s).

ANSWER:

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Case $:21-cv-01403-G-BH Document9 Filed 07/01/21 Page11of16 PagelD 44

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QUESTION 5: What relief are you seeking? Describe specifically anything you are asking this
court to do. If you are seeking monetary damages, state the amount of monetary damages that you
are seeking and explain how you calculated that number.

ANSWER:

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Case 3:21-cv-01403-G-BH Document9 Filed 07/01/21 Page15of16 PagelD 48

STATE OF TEXAS
COUNTY OF
VERIFICATION
I understand that a false statement or answer to any interrogatory in this cause of action will
subject me to penalties for perjury. I declare (or certify, verify or state) under penalty of perjury that
the foregoing answers are true and correct. 28 U.S.C. § 1746.

SIGNED on this 30 th day of Ju ne , 2021.

Grace

(Signature of Plaintiffy

 

 
 

Office or Other Outpatient Services
Case 3:21-cv-01403-G-BH Document9 Filed 07/01/21 Page16o0f16 P9ge

  
 

DORA M. TIPPING = Chart #116049
DOB: 25.Apr.1970 (50) Female
Visit Date: 06.May.2020 at White Rock ENT

PROVIDER INFORMATION
PCP: Cesar Gomez MD
Requesting: Cesar Gomez MD

INSURANCE INFORMATION

Prilns Company: Cigna Healthcare (CIGNA)
Pri Ins Policy #: U7577344401

Pri Ins Group #: 3341846

PRESENT ILLNESS INFORMATION
Chief Complaint: something im throat

 

    
   
 
 
  

   
  
 
 
  

: 50 yo LAF presents for evaluation of a 3 week history of intermittent difficulty breathing and "passing saliva". She
has had 2 severe episodes which occurred after very stressful events at work. She typically becomes very anxious and

then notes some difficulty breathing and swallowing, This lasts Tor several hours at times but resolve without medication.
She has had shorter episodes almost daily. She was seen in the ER and did have a CT scan done which reportedly showed
an abnormality but she does not have a copy of the report. She was given a prescription for anxiety medication after a
cardiac event was ruled out but told to follow up with an ENT. She denies any nasal congestion or URI symptoms.

REVIEW OF SYSTEMS
Constitutional Symptoms:.
¢ Pertinent negatives: chills, fatigue, fever, night sweats, sleeping problems.
Eyes: loss of vision.
* Pertinent negatives: itchy eyes, watery eye or eyes.
Ears, Nose, Mouth, and Throat:

° Ears:.

* Pertinent negatives: dizziness, hearing loss, ringing in ears or head noise.

¢ Nose and Sinuses:.

* Pertinent negatives: facial pressure sensation, nasal congestion, mouth-breathing, nosebleeds, post-nasal drainage,
runny nose, sneezing.

* Mouth and Throat: sore throat.
¢ Pertinent negatives: snoring, swallowing difficulty.

Cardiovascular:.

* Pertinent negatives: blacking out or fainting, lightheadedness or near fainting on standing up, palpitations (awareness
of heartbeat), shortness of breath only when lying down, shortness of breath while sitting or standing, swelling
including ankles or legs.

Respiratory: Pertinent Negative for recent exposure to tuberculosis.
* Pertinent negatives: cough, coughing up blood, chest pain or tightness, wheezing.
Gastrointestinal:.
« Pertinent negatives: blood in vomitus, heartburn or indigestion, difficulty swallowing liquids, difficulty swallowing
solids, food sticking when swallowing, painful swallowing, sensation of a lump in throat, vomiting.
Genitourinary:.
* Pertinent negatives: frequency of urination.
Musculoskeletal:.
¢ Pertinent negatives: joint pain, redness overlying joints, joint swelling.
Neurological:.
¢ Pertinent negatives: change in alertness, change in smell, change in taste, difficulty remembering, difficulty thinking,
excessive daytime sleepiness, headache, seizures of unknown type, paralysis, weakness.
Psychiatric:.
¢ Pertinent negatives: feeling sad more than usual (depressed), trouble sleeping.
Endocrine:.
* Pertinent negatives: increased thirst, unwanted or unexpected weight change.
Hematologic/Lymphatic:.

* Pertinent negatives: excessive bleeding after injury or minor surgery, easy bruising, axillary masses, groin masses,

neck masses, masses in areas other than armpit, groin, or neck.
Allergic, Infectious, Immunologic:.
* Pertinent negatives: seasonal rhinitis.

Ms. Dora M. Tipping - DOB: 25.Apr.1970 (50) - Visit: 06.May.2020 - Jordan - Pg. 1 of 4

 
